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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


UNITED STATES OF AMERICA,                      )
                                               )
                    v.                         ) Case No. 2:15-cr-00069-JDL-2
                                               )
VICTOR LARA, JR.,                              )
                                               )
       Defendant.                              )


                                       ORDER
       Defendant Victor Lara, Jr. is currently joined with codefendants Kourtney

Williams and Ishmael Douglas. See ECF No. 25 at 1. On June 16, I entered a Speedy

Trial Order which granted Douglas’ request for an extension of the pre-trial motions

deadline, and excluded the corresponding three-week period (from June 11, 2015

until July 2, 2015) from the Speedy Trial Clock. ECF No. 86 at 2. I found that the

ends of justice served by that continuance outweighed the interests of Douglas and

the public in a speedy trial, and also found that the continuance was reasonable as to

all parties. Id.

       Lara has objected to that Speedy Trial Order, citing his continued pre-trial

detention. ECF No. 90 at 1. When a defendant objects to a Speedy Trial Act exclusion

that results from a codefendant’s continuance, I consider whether the resulting delay

is reasonable for the objecting defendant. See United States v. Maryea, 704 F.3d 55,

66 (1st Cir. 2013). Here, the period of time to which Lara objects had already been

excluded from Lara’s Speedy Trial Clock as a consequence of his codefendant’s

request to place the case on the July 6, 2015 trial list. See ECF No. 78 at 4 (excluding

May 6, 2015 through July 6, 2015). Accordingly, the Speedy Trial Order to which
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Lara presently objects (ECF No. 86) has worked no additional delay in his case. In

light of this, and having carefully reconsidered the totality of the relevant

circumstances, I reaffirm that the delay due to Douglas’ request is reasonable as to

Lara.

        Defendant’s objection (ECF No. 90) is hereby OVERRULED.

        SO ORDERED.


        Dated: July 2, 2015                              /s/Jon D. Levy_________
                                                   U.S. District Judge
